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                        EXHIBIT.OB
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                                                                                                        EXHIBIT 08


                                                                                           District Attorney
                                                                                           Criminal

                                                                                           Bcthllecke:r1


                       JACKSON COUNTY                                                      Di.1tric1 Atromcy

                                                                                            815W.1oth
                                                                                            Medforcl, OR97501
            """'·"''   Or e go n                                                           'Phone: 5-l 1608-2905
                                                                                            Fax; 541608-2982
                                                                                            hecke,b.e·@Jackscncounty.org·

                                                                                           TT-Y: (541)774-8186
                                                                                           ww.·1.jacksonccurity.org




July 26,2021


Presiding Judge Mejia
Jackson-County Circuit Court
JOb:S .. Oakdalc
Medford; OR 97501

       RE: ORS 14.260(1) disqualification notice

DearJudgeMejia:

I am writing !9 provide you with notice that beginning immediately the Jackson County District
Attorney's. Office ,,:viii move to disqualify Judge David Orr o~r aH matters in which my office is a party.
As you are aware, ORS 14.260(1) provides:

                Any party to or ,my attorney appearing in any cause, matter or proceeding in a,circuit court
       111ay estabJisll the belief described _in ORS 14.250 hy motion supported by affidavit that the party
       or attorney believes that the party or ~ltlorney cannot have afair and impartial trial or hearing hefore
       the j\1ci¥e, and that it is made in good faith and not for the purpose of delay. No Rpeci'fic grounds-
       for t,hebclief ne·ect be alleged. The motion shall be allowed•unless the judge moved against, or the
       presiding judge for the judicial district, challenges the good faith of the affiant and sets forth the
       basis of the challenge. In the event of a challenge, a he~ring shall be held before, a disinterested
       judge. The burden of proof is on the challenging judge to establish that the motion was made in
       bad faith or for the purpose of delay.


As District Attorney I take this position with a great deal of regret. I have never filed an affidavit on a
judge in my 33 years in the District Attorney's Office. UnfortuJiatcl y, I do not believe that crime
victims, _law enforcement offic·ers, my attorneys or even the accused can receive a fair hearing ot
impartial trial. before Judge Orr. I have these concerns for several reasons, including but not limited to
the following:                                                                         •


            ••    State v. Zhan_garn.! Frisbee l9CRn354 this case had a moti0i1 to compel discovery on an
                  informant. The motion was he~ird on January 29, 2021.. The Court believed the Medford
                  Police Department should change their policy \\'.hen reviewing infom1ation to determine.



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               if it is exculpatory. Judge Orr stated 'Tm going to continue the trial on the Court's own
               motion. And what I want to do is continue it long enough to see i( the State elects to
               come back and inform the Court about a change in the l\leclforcl operations policy. Ancl if
               that has occurred, it would seem to me that it's appropriate then for that to be something
               that \vould weigh heavily in the State's favor when deciding what type of sanction I
               ought to impose." The City then submitted a memo detailing how the Lexjpol policy was
               lawful and used nationwide.

           o   In State v. Martin 20CR!4810 a sex abuse trial occurred on June 23, 2021. After a multi-
               day trial, Judge Orr gave the defense sir rebuttal, even though the defense had not made
               any objection to Ms. Terry Smith Norton's final closing. Judge Orr also lectured Ms.
               Smith -Norton when she stated "Your witness'' after completing direct exam of a State's
               witness. Judge Orr was also informed by the Jury that they had reached a verdict on the
               three Tampering charges but had not reached a verdict on the Sex Abuse charges. Judge
               Orr ultimately declared a Mistrial and did not receive the verdicts on the Tampering
               charge. I-le stated that he belic\'ed he could accept the verdict but he didn't feel
               comfortable accepting the verdict.

           o   In State v. Sowells l 9CR02922 a motion for in-camera review occurred on April 15,
               2021. Judge Orr released the records even though he found they did not meet the
               standard of being exculpatory, in violation or ORS 181 A.8.30. The records were released
               to the defense prior to the start of the hearing on April 18, 2021 by Coun staff. Due to
               his release of those records, the State had no confidence he would not let the records be
               used somehow during the trial, so the State felt that resolving the c,L-;e, at a considerable
               reduction of the original offer, was our only choice.

           •   In State v. Zamora l SCR 14737 a trial was held on November 24, 2020. During the trial,
               the Judge would not ask or allow the State to respond to a nutjority of the objections. At
               the conclusion of the trial Judge Orr said he made poor decisions for the State, he
               sustained objections by the defense, even though the defense did not state an accurate
               basis for objections.

           •   In State v. Stanford. Michael & Mcloclv Judge Orr severed the co-defendants on
               1SCR49 l 90 over the States objection and the Defendant's objection. The State provide
               Judge Orr with a case stating a fear of an issue is not enough to sever the cases. 1n this
               case the concern by Judge Orr was that Mr. Stanford would act as lv1rs. Stanford's
               attorney. In January 2021 Judge Mejia un-sevcrcd the two cases. The case went to trial
               as co-defendants in May 2021. ,

           •   In many other cases the prosecutors have been treated with disrespect by Judge Orr.

As District Allorney, I take an oath to ensure equitable and fair application of the law to all individuals.
It is our policy to defend public safety, ensure offenders are held accountable, seek justice for victims of
crimes. and to facilitate the efficiem and equitable resolution or matter~. For all of these reasons stated




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above and many more, the State does noL believe we can have a fair and impartial trial before Judge
David Orr.


Sincerely,



Beth Heckert
District Attorney




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 1                     IN THE CIRCUIT COURT OF THE STATE OF OREGON
                                FOR THE COUNTY OF JACKSON
 2

 3
      IN THE MATTER OF
                                                         ~       21-\_)
     Jackson County District Attorney                    )   MOTION TO DISQUALIFY
 4   Appearances before Judge David Orr
                                                         )
 5                                                       )

 6   _______________                                     )
                                                         )

 7
            COMES NOW, the State, by and through Beth Heckert, District Attorney for
 8
     Jackson County, and based upon the Affidavit herein and moves the Court for an Order
 9
     Disqualifying Judge David Orr to hear the Jackson County District Attorney appearances
10
     for the reason the State believes it cannot obtain a fair and impartial trial or hearing
11
     before such Judge. This motion is pursuant to ORS 14.250-14.270 and is made in good
12
     faith and not for the purpose of delay.
13

14

15
     DATED at Medford, Oregon, July 28, 2021.
16

17

18                                                   Beth Heckert, OS8#872472
                                                     District Attorney




     Page 1 - Motion to Disqualify Judge David Orr



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                                       IN THE CIRCUIT COURT OF THE STATE OF OREGON
                                                FORTHECOUNTYOFJACKSON
                  2
                          IN THE MATTER OF
                  3                                                                     ~             Z-1-l~
                          Jackson County District Attorney                              )      AFFIDAVIT
                  4       Appearances before Judge David Orr
                                                                                        )
                  5                                                                     )

                  6
                         _________                                                      )
                                                                                        )
                                                                                               Court No.


                  7
                          STATE OF OREGON )
                  8                         ) ss
                          County of Jackson )
                  9
                                I, Beth Heckert, Jackson County District Attorney, after being duly sworn
                 10      upon oath, do hereby depose and say:

                 11               l am the District Attorney for Jackson County.

                 12               It is our policy to defend public safety, ensure offenders are held

                 13       accountable, seek justice for victims of crime, and to facilitate the efficient and

                 14       equitable resolution of matters. The State does not believe Judge David Orr can be

                 15      fair and impartial to the State, nor follow the law.

                 16               Such motion to disqualify Judge David Orr is not for purposes of delay and is

                 17      made in good fait~.

ti~-             18               DATED at Medford, Oregon, July ?,.-1--. 2021.
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                 19                                                                 i::e1i~           ~Gvl       r-
J-r.o~
                                                                                 Beth Heckert, OSB#872472
U-tn
- <o~
~
(/)
        ..       20                                                              District Attorney
5
/'.:      0
          ~,.,   21               Subscribed and sworn to before me this                            d 1 t:2- day of July, 2021.
          r--

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,02                                           UY COMMISSION EXPIRES NOVEUBER 02, 2Ce(       My commission expires: 11-/;J).-;;l.cd(f
                 24
                          Page 1 - Affidavit



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                 1                     IN THE CIRCUIT COURT OF THE STATE OF OREGON
                                                FOR THE COUNTY OF JACKSON
                 2
                      IN THE MATTER OF                             )
                 3                                                 )   ORDER ON MOTION TO
                      Jackson County District Attorney             )   DISQUALIFY
                 4    Appearances before Judge David Orr
                                                                   )
                 5                                                 )
                                                                   )
                 6                                                 )
                     ---------------)
                 7

                 8           Based upon the Motion to Disqualify Judge David Orr filed by the District Attorney,

                 9   it is hereby:

                10           Allowed     ;<               Denied - - - - - -

                11

                12

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                17                                                               torenzoA Mejia
                                                                                C/n:,.iit Court Judge
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                     Order



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         IN THE CIRCUIT COlJRT OF THE STATE OF OREGON FOR JACKSON COUNTY
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                                                                                   •            • I               •1
                                                                                                1.-:.




          IN THE i\1ATTER OF

          Jackson County District Attorney                 PRESIDL.'l"G JUDGE ORDER
          Appearances before Judge David Orr
                                                           NO. 24-05

 10

 11

 12
              PJO 21-13 disqualifying Judge On- from presiding over criminal matters is
         rescinded. Order No. 24-05 is based on SB 807 (2023), effective January 1, 2024, which
 13
        changed the recusal procedure in criminal and juvenile matters.
 14

 15           SO ORDERED.
16

17           DATED April 17, 2024
             Nunc Pro Tune Aprj) 16, 2024


                                                           ~~
18

19
                                                         - B ~ o m , Presiding Judge
20

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                                      JACKSON COUJYfY CIRCliIT COURT
                                             JOO SOUTH OAKDALE
                                              MEDFORD, OR 9750!




                                  EXHIBIT 08 - PAGE 7 OF 7
